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EXHIBIT H
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From: Timothy Jackson <shermanzelechin@gmail.com>
Date: Sun, Nov 17, 2019 at 9:31 PM
Subject: Re: [EXT] Re: Meeting
To: Walls, Levi <LeviWalls@my.unt.edu>



Dear Levi,



Before I go on to answer your detailed points, I need to do two things: 1) Congratulate you on the
forthcoming birth! What is the due date?



2) I need to watch the video of Ewell's presentation to see if he actually says the things that he is
reported to have said. Right now, I am buried in Bach.

I need to resurface and watch it.



As you know, my children are also mixed race: "white" and Asian (Korean). I put "white" in quotes
because many Jews don't consider themselves to be "white-white." It is hard to explain. But briefly put,
Jews are not WASPs. It is debatable who the white Neo-Nazis hate more: Jews or Blacks. The sad thing is
that Black anti-Semitism has also grown exponentially of late.



Anyway, I MUST congratulate you on the impending birth. That is more important than any "political"
discussion.



I forward this:

 Blacks, Whites, and Anti-Semitism Author(s): Lee Sigelman Source: The Sociological Quarterly, Vol. 36,
No. 4 (Autumn, 1995), pp. 649-656 Published by: Taylor & Francis, Ltd. Stable
URL: https://www.jstor.org/stable/4121345 Accessed: 17-11-2019 14:59 UTC



"the findings reported here leave little room for doubt that the black-white differential in negative
feelings about Jews documented in earlier national studies has persisted. The size of this black-white
differential varies according to age, and the age-contingent effect was robust enough to withstand the
imposition of statistical controls for a host of factors related to both race and anti-Semitism. If there
were any lingering doubts about whether a racial gap in anti-Semitism really exists, these should now
be assuaged. Whereas the racial gap in images of Jews had previously appeared to be primarily focused
on the economic domain, at all but the oldest age levels black respondents in the 1992 ADL survey
expressed greater anti-Semitism than whites in both the economic and noneconomic domains. The




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implication is that if African Americans' negative feelings about Jews once largely reflected
displeasure with perceived Jewish business practices, these negative feelings have now expanded into
more diffuse displeasure. Much remains to be learned about the mechanisms of black anti-Semitism
and the means by which it might be alleviated. For the moment, we must be content to have observed
that blacks-and younger and middle-aged blacks in particular-still harbor more negative images of Jews
than do whites, to have concluded that this difference is genuine rather than spurious, and to have
uncovered evidence that although black negativity toward Jews once was economically focused, it has
now spilled over into a broader mindset."



That was back in 1995!




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